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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                                Eastern Division

George Moore
                                      Plaintiff,
v.                                                        Case No.: 1:19−cv−03480
                                                          Honorable Gary Feinerman
State Collection Service, Inc.
                                      Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, September 19, 2019:


        MINUTE entry before the Honorable Gary Feinerman:The parties have filed a
stipulation of dismissal [21], the terms of which are set forth therein. The status hearing
set for 10/17/2019 [13] is stricken. Civil case remains closed.Mailed notice.(jlj, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
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